      Case 8:07-cr-00454-JSM-TGW Document 398 Filed 07/30/08 Page 1 of 9 PageID 1006
A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case


                               UNITED STATES DlSTRlCT COURT
                                                      MIDDLE DISTRICT OF FLORIDA
                                                              TAMPA DMSION



llNlTED STATES OF A M E R I C A                                    JUDGMENT IN A CIt IMINAL CASE
                                                                   CASE NUMl3ER: 8:07-cr454-T-3OTG\V
                                                                   USM NUMBER: 49929-018



ARCHIE A. HOLMES
                                                                   Defendant's Attorney: John Edward Fcmandcz. cja.

THE DEFENDANT:

-
X pleaded guilty to counl(s) ONE and FOUR ot'he FlRST SUPERSEDING INDICI'M ENT.
- pleaded nolo contendere to count{s) which was accepted by the court.
- was found guiIry on com(s) after a plea of not guilty.

                                       NATURE OF OFFENSE                              OFFENSE ENDED                        COUNT

                                      Conspiracy to Possess with Intent to            2007                                   One
                                      Distribute and Distribute 1000 Kilograms
                                      or More of Marijuana and 5 Kilograms or
                                      More of Cocaine

                                      Possession of Firearms During a Drug            November 15, 2007
                                      TM~ckingCrime


       The defendant is sentenced as provided in pages 2 through 6 of thisjudgment.The sentence is imposedpursuant to tbe Sentencing
Refonn Act of 1 984.

-The defendant has been found not guilty on count(s)
-X Counl(s1 FIVE of the Superseding Indictment is dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney I'or t h ~ sd~strictH~WII 30 days of any change of
                                                                                             I .: I m p o ~ e dby this judgment are l l l y paid-
name, residence, or mailing address until all fmes, restitution, costs, aad special assessn~en
If ordered to pay restitution. the defendant must notify the court and United States A I tome y of' my material change in economic
circumstances.


                                                                                      Date of Imposition of Sentence: July 29,2008




                                                                                                 S. MOODY. J R. '
                                                                                                  STATES DISTRICT J U D G E


                                                                                      DATE: July       b2    . 2008
      Case 8:07-cr-00454-JSM-TGW Document 398 Filed 07/30/08 Page 2 of 9 PageID 1007
A 0 1458 (Rev 06/05)Shca 2 - Imprisonment (Judgment in a Cfirninai Case)
Defendant:       ARCHIE A. HOLMES                                        J u d m e n ~- Page 3 of 6
Case No.:            8:07-cr-454-T->0TG W




        After considering the advisory sentencing guidelines a n d all of the factors identified in 'fitle 18 U.S.C. $8
3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         T h e defendant is hereby committed to the custody of t h e United States Bureau of Prisons to be imprisoned f o r
a total term o f ONE HUNDRED and TFIlRTY (130) MONTHS as to Counts O n e and Four of the First Superseding
Indictment. This term consists of SEVENTY (70) MONTHS as to Count One of the First Supersedinghdictment and
a consecutive SLXTY (60) R'IONTHS as to Count Four of the First Superseding Indictment.




X The court makes the followingrecomwdations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman (FL),
-
if possible.



-
X f i e defendant is remanded to the custody of the Un~tedStates Marshal
-The defendant shall surrender to the United States Marshal for this district
          -at-a.m,/p.m.     on -.
          -as notified by the Un~rcdStarcs Marshal
-The defendant shaU surrender for service of sentcncc at the institution dmignated by the Bureau crf Prisons.
          - bcfore 2 p.m. on -.
          - as nori ticd by tlic U ~ \ ~ t Stales
                                           ed     Marshal
          - as noritied by the Probation or Pretrial S c n : i c c ~Office.



                                                                              RETURN

            1 have cxccukd this jud-pent as follows:




            Defendant delitferedon                                                   10

- at                                                                          , with a certified copy of this judgment.


                                                                                          United States Marshal

                                                                               By:
                                                                                                  Deputy U n i ~ e dStates Marshal
     Case 8:07-cr-00454-JSM-TGW Document 398 Filed 07/30/08 Page 3 of 9 PageID 1008
A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal C a )

Defendant:            ARCHIE A. HOLMES                                                                                           -
                                                                                                                    Judgment Page 3of 6
Case No.:             8:07-cr454-T-30TGW
                                                                 SUPERVISED RELEAS E
         Upon rclcase from irnprisonnicnt, the defendant shall be on supervised relcnse for a tcrm of FIVE ( 5 ) YEARS
as t o Counts One and Four of thc F i r s t Superseding Indictment, all such terms to run concurrently.




            Ifthisjudgment imposes a fine or restitutionit is a condition ofsupervised release that the defendant pay in accurdance with the
            Schedule of Payments sbeet of this judgment

            The defendant must comply witb the standard conditions that have been adopted by this court as weU as with any additional
            conditians on the attached page.

                                                 STANDARD CONDITIONS OF SUPERVISION
            the defendant shall not leave the judicial dishct without thep~missionof the court or probation nlliccr
            the defeadant shall report to the probation oRcer and shall submit a truthful and coniplctc \cl lllsn r q o n \ c ~ ~ l iIihc
                                                                                                                                       n fiM five days of each
            month,
            rhe clefendari~s l ~ ~:Inawcr
                                    ll    ~ r u ~ l ~ l ua l ll inquiries
                                                                y         by the probat~onotlicer and follow ~ h ~c ~ i s ~ n ~ c f ol'chc:
                                                                                                                                    i c \ n b prohation olliccr:

            the defendant shall support his or her dependents and meet other family responsibilities;

            the defendant shall work regularly at a lawful occupation, unlm excused by the probation oi'ficcr (or schooling,train ln p or o t l w
            acceptabh emons;
            rhe defendant shall notify the probation officer at least ten days prior to any rhange in res I dcncc o r crnployment:

            h e defendant shall refrain fmm wcffsive use of alcohol and shall not purchase. pbsxss, use, distribute, or administer any c~ntrolled
            substance orany paraphanalia related to my conmlled substances, except as pre~~n*bed    by a physician;

            the defendant shall not frequent places where wntroiled substances are illegally sold used, distriburod or administered;

            the defendanr shall nor associate with any persow engaged in criminal activity and shall not ~s..sociate6 t h any person convicted of a
            felony. unless granted pamission to do so by the p*'on     offim

            the defendant shall permit a probation officcrto visit him or her at any time at home or elsewhere and shall permit confiscation ofany
            canmihand obsmwl in plain view of the probation officcr;
            the defendant shall notify the probation officer within eventy-fwohours of being amstcd or qwr;tioned by n law enfonxnwnt officw,

            thedefendam shall not enter into any ~greernentto act as an inf-                  or a special agent of a law rnforcemrnt a p c y without the
            pamission of the cmrt; md

            as directed by the probation officer. thedefendant shall notify third parties o f risk that tnny be occnsioncd by theddmdant's criminal record
            or personal hislory or charactmistics and shall parnit the probatioe officer to make such notifications and to canfirm the defendant's
            compliance with such notification requirement.
A 0Case   8:07-cr-00454-JSM-TGW
   2458 (Rev.                                      Document
              06/05)S h w 3C - S u p e ~ s c dRelease (Judgment in 398     Filed
                                                                   a Ctirninal Case)07/30/08   Page 4 of 9 PageID 1009
Defendant:         ARCHTE A. HOLMES                                                  Judgment - Page 4of 6
Case No.:          8:07-cr454-T-JOTGW
                                        S P E C I U CONDITIONS OF SUPERVISION

         The defendant shall also comply witb the following additional conditions of m p t ~ s e drelease;

-
X        The defendaat shall cooperate in the collection of DNA as directed by the probation officer.

-
X        The mandatary drug testing pmvisiom shall apply pursuant to the Violent Crime Control Act The Court orders random drug
         testing not to e x d 104 tests per year.
     Case 8:07-cr-00454-JSM-TGW Document 398 Filed 07/30/08 Page 5 of 9 PageID 1010
 40 2458 (Rev 06/05) Shcet 5   - Criminal Monetary Penalties (Judgment in a Criminal Case)


                                            CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under [he schetlule of payments on Sheet 6.
                            hssessmcnt                                                        Total Restitution

          Totals:                                                    Waived


          The determmahon ot resltut~onts deferred untd
          be entered after sucb determination.
                                                                -.            An Amended Judgment in a Criminol Case (A0 245C) will

          The Mendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          Lf the defendant makes a partial payment,each payee shall receive an ap mximately proportioned payment, unless
          specified otherwise in the priority order or pensentage pa em column ll?low. However. purrmolnt to 18 U.S.C. 9
          3664(i), alI om-federal victims must be p d before the d%d    Shtes.


 Name o f Pavce                                                               Resrirurion Ordered               Priorih. o r Percentage




          Restitu~ianamouni orderixl pursuant to plea agreemen1 $
          The defendant must ay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the Ntcenth     afier he date of the judgment, pursuant to 18 U.S.C. jj 3612(fj. All of the payment options on Sheel
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. E) 3612(g).
          The c o w determined that the defendant does not have the ability to pay interest and it is ordered that:
                   the interest requirement is waived for the - Gne - restitution.
                   rhe interest requirement for Ihe - f h e - restitution is modified as follows:



* Findings for the tolal amount of lasses are mpiredmder Chapters 109& 110,l LO& and 1 13A ofTitle 18 for the offenses ~ o m m l n e d
on or after September 13, 1994, but before April 23,1996.
      Case 8:07-cr-00454-JSM-TGW Document 398 Filed 07/30/08 Page 6 of 9 PageID 1011
A 0 245B (Rev 06/05) Slicer 6 - Schedule nfPaymLrlr~
                                                   I ~ u ~ l x wI IiI r.I Cnrnindl Case)



Defcndanr:          ARCHIE A. HOLlLiES                                                               Judgment - Page ho f
Case No.:           8 07-cr-454-T-3OTGW



                                                       SCMEDULE O F PAYMENTS



Having assessed rhe defendant's ability to pay, payment of the total criminal monetary penalties arc due as Coilows:

                     Lump sum paymenr of $ 200.00 due i~nmediateiy,balance due
                               -not later than                    , Or

                               -in accordance          -   C, - D, - E or - F below; or
                    Payment to begin i~nmediately(may be combined with                        C,        D, or F        below); or
                    Paymenr in equal           (e.g., weekly, monthly, quarterly) installments of $         over a period
                    of -(e.g., months or years). to commence             days (e.g., 30 or 60 days) after the date of this
                    judgmeni; or
                    Payment in equal              (e.g.,weekly, monthly, quarterly) installments o l S          over a period of
                                , (e.g., months or years) to commence                    (e.g. 30 or 60 days) after release from
                    imprisonment to a term of supervision; or
                    Payment during the term of supervised release will commencc within                  (e-g.,30 or 60 days)
                    after release from imprisonment. The court will set the payment plan based on an assessment of the
                    defendant's ability to pay at that lime, or
                     Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered orhenvise. if this Judgment imposes imprisomnenl, pahment of criminal monetary
penalties is due during ~mprisonment.All crlmindi l l i c ~ l l ~ i u pi-mltiri.
                                                                      r>         except those payments made through the Federal
Bureau of Prisons' h w t e Financial Responsibili~).Program. are made to the clerk of the court.
The defendant shall recelve credil for all payments prz! ~ o ~ ! i made
                                                                   ly   toward any crminal monetary pcnaliies imposed.
          Joint and Several
        Defendant and Co-Defendant Names and C:IK lumbers (including defendant number). Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


          7 . 1 delendanl
                ~         slwll pay Ihc cosl of prosecution.
          The defendant shall pay the following court cost(s):
          The defendant sllall f~vfciitht. Jcfcnhnt's intsr.r'<t ill the fi-~l!ow\ng
                                                                                   property to the United States:




Pii>rni-n~\h l 1 be applied in the following order: (1) .i>,c+.;Iilc.l\t. ( 2 , resirution principal, (3) restitution interest, (4) fins principal, ( 5 )
fins inirrt.;~.(6) comrnun~tyresritution. (7) penalties. J I ( ~S ) i i l - t . . ini.!iiding ic1.t of prosecution and court c o s k
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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


       UNITED STATES OF AMERICA,

             Plainiiff,

                                                 :   Case No. 8:07-cr-454-T-30TGW

       ARCHIE HOLMES,
            a/k/a "Nerk,"

              Defendant.



                            PRELIMINARY ORDER OF FORFEITURE

             THIS CAUSE comes before the Court upon the filing of the Motion (Dkt. #390)

       of the United States of America for Entry of a Prelimmary Order of Forfeiture which

       shall be a Final Order as to defendant Archie Holmes' right, title and interest in the

       following firearms and ammunition:

                     CN Romarm, 7.62 caliber firearm, serial number A C - I 506-80, loaded
                     with a magazine;

                     Remington Model 870, 12 gauge shotgun, serial number D49190M,
                     loaded with five rounds;

                     H&R .32 caliber revolver, Model 73, serial number AU015501;

                     An unidentified makelmodel, 7.62 caliber rifle, with scope and loaded
                     magazine, serial number 10054345;

                     Ruger .22 caliber handgun with magazine, serial number 12-05919;

                     Glock Model 26 pistol, 9mm, with magazine, serial number LHF 100;
                     and

                     Ruger .22 caliber handgun with magazine, serial number NRA-11376.
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              Being fully advised in the premises, the Court finds:

              WHEREAS, the United States has established the requisite nexus behnleen the

       firearms and ammunition identified above and the weapons offense charged in Court

       Four of the First Superseding Indictment, to which the defendant pled guilty, the

       government I S now ent~tledto possession of the subject firearms and ammunition

       pursuani to the provisions of 18 U.S C . § 9 2 4 ( d ) ( 1 )28
                                                                   , U.S.C. § 2461(c), 21 U.S.C.

       5 853[incorporated by 28 U.S.C.§ 2461(c)], and Rule 32.2(b)(2), Fed R. Crim. P.
       Accordmgly. ~t I S hereby

              ORDERED. ADJUDGED, and DECREED

              1.     That the Motion (Dkt. #390) of the United States is GRANTED;

              2,     That all right, title, and interest of defendant Archie Holrnes in the

       above-listed assets are hereby forfeited to the United States of America for

       disposition according to law, subject to the provisions of 21 U.S.C. 5 853;

              3.     That, following entry of this order, the United States will, pursuant to 21

       U.S.C. 5 853(n), publish (in such manner as the Attorney General may direct) notice

       thereof and its intent to d~sposeof the forfeited properties. The United States may

       also, to the extent pracltcable, provide direct written notice to any person known to

       have an alleged interest In the above-described assets. as substitute for publ~shed

       notice as to those persons so notified:

              4.     That any person, other than defendant Archie Holmes, who has or

       claims any right, title, or interest in the abovedescribed assets must file a pet~tionwith
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       the Court for a hearing to adjudicate the validity of his or her alleged interest in the

       forfeited asset. The petition is to be mailed to the Clerk of the United States District

       Court, Tampa Division, 801 North Florida Avenue, Tampa, Florida 33602, within thirty

       (30) days of the final publication of notice or of receipt of actual notice, l~hicheveris

       earlier;

                  5.     That the petition shall be signed by the petitioner under penalty of

       perjury, and shall set forth the nature and extent of the petitioner's right, title, or interest

       in the forfeited asset, and any additional facts surrounding the petitionefs claim and

       relief sought;

              6.         That, after receipt of the petition by the Court, the Court will set a hearing

       to determine the validity of the petitioner's alleged interest in the forfeited asset;

                  7.     That, upon adjudication of all third-party interests in the above-described

       assets, this Court will enter a Final Order of Forfeiture pursuant to 2 1 U.S.C. § 853, in

       which all interests will be addressed

                  The court retainsjurisdiction to enter any orders necessary for the forfeiture and

       disposition of the firearms and ammunition and to entertain any claims or petitions that

       may be asserted in the ancillary proceeding.

                  DONE and ORDERED in Tampa, Florida on July 28,2008.




       Co~iesfurnished to:                             I 3 m D STATES DISTRICTJZ-DGE
       CounseUParties of Record
       S-M7~454hkhmAmm           8-bwms.d
